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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



 STATE OF FLORIDA, et al.,

                         Plaintiffs,

              v.                                          Case No. 8:22-cv-718-WFJ-JSS

 ROCHELLE P. WALENSKY, et al.,

                         Defendants.


                    DEFENDANTS’ NOTICE OF RELATED ACTIONS

        In accordance with Local Rule 1.07(c), I certify that the instant action:

__X__              IS related to pending or closed civil or criminal case(s) previously filed in
                   this Court, or any other Federal or State court, or administrative agency
                   as indicated below:

            Related cases in the Middle District of Florida (in order of filing date) 1

                   • Wall v. CDC, No. 6:21-cv-00975 (M.D. Fla.)
                   • Health Freedom Defense Fund v. Biden, No. 8:21-cv-1693 (M.D. Fla.)


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          Plaintiffs agree that Wall and Health Freedom “challenge the same government action” that is
at issue in the above-captioned matter. Pls.’ Notice of Related Actions, ECF No. 3. In their Notice,
however, Plaintiffs also listed Florida v. Becerra, No. 8:21-cv-839 (M.D. Fla.). Defendants do not agree
that Florida v. Becerra is related to this case. As Plaintiffs acknowledge, Florida v. Becerra “was a
challenge to the CDC’s Conditional Sailing Order” for cruise ships, which was a different agency
action (no longer in effect) that is not at issue here. By contrast, all of the other related cases identified
in this Notice (and in Plaintiffs’ notice) are, like this case, challenges to the CDC’s transportation mask
order. See CDC, Order Under Section 361 of the Public Health Service Act, Requirement for Persons to Wear
Masks While on Conveyances and at Transportation Hubs, 86 Fed. Reg. 8025 (Feb. 3, 2021).
         Florida v. Becerra is closed. See Notice of Voluntary Dismissal, ECF Nos. 132, 133, Florida v.
Becerra, No. 8:21-cv-839 (M.D. Fla. Feb. 10, 2022). Wall and Health Freedom have both been litigated
to final judgment in district court. Health Freedom is currently pending before the Eleventh Circuit
(No. 22-11287). The plaintiff in Wall has informed government counsel that he intends to file a notice
of appeal, but has not yet done so as of the date of this filing.
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           Related cases in other federal districts (in order of filing date)

            •   Mahwikizi v. CDC, No. 21-cv-3467 (N.D. Ill.)
            •   Bobay-Somers v. HHS, No. 21-cv-335 (N.D. Ind.)
            •   Faris v. CDC, No. 22-cv-23 (W.D. Ky.)
            •   Seklecki v. CDC, No. 22-cv-10155 (D. Mass.)
            •   Andreadakis v. CDC, No. 22-cv-52 (E.D. Va.)
            •   Van Duyne v. CDC, No. 22-cv-122 (N.D. Tex.)
            •   Chenge v. CDC, No. 22-cv-165 (W.D. Mich.)
            •   Doe v. Dep’t of Transp., No. 22-cv-402 (W.D. Pa.)
            •   Bigtree v. CDC, No. 22-cv-0224 (W.D. Tex.)
            •   Massie v. CDC, No. 22-cv-31 (W.D. Ky.)
            •   Carlin v. CDC, No. 22-cv-0800 (D.D.C.)
            •   Family Research Council Action v. Biden, No. 22-cv-209 (N.D. Tex.)
            •   Trocano v. CDC, No. 22-cv-0727 (D. Colo.)
            •   Marcus v. CDC, No. 22-cv-2383 (C.D. Cal.)


______      IS NOT related to any pending or closed civil or criminal case filed with
            this Court, or any other Federal or State court, or administrative agency.


      I further certify that I will serve a copy of this NOTICE OF A RELATED

ACTION upon each party no later than fourteen days after appearance of the party.




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Dated: May 4, 2022                 Respectfully submitted,

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                                   Principal Deputy Assistant Attorney General

                                   ROGER B. HANDBERG
                                   United States Attorney

                                   ERIC B. BECKENHAUER
                                   Assistant Branch Director

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